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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:19-CR-00249-DAD-BAM
12                                Plaintiff,            STIPULATION TO CONTINUE STATUS
                                                        CONFERENCE AND ORDER
13                          v.
                                                        DATE: November 23, 2020
14   GEORGIA DEAN ET AL.,                               TIME: 1:00 p.m.
                                                        COURT: Hon. Barbara A. McAuliffe
15                               Defendants.
16

17          This case is set for Status Conference on November 23, 2020. On April 17, 2020, this Court

18 issued General Order 617, which suspends all jury trials in the Eastern District of California scheduled

19 to commence before June 15, 2020, and allows district judges to continue all criminal matters to a date

20 after June 1. This and previous and subsequent General Orders were entered to address public health
21 concerns related to COVID-19.

22          Although the General Orders address the district-wide health concern, the Supreme Court has

23 emphasized that the Speedy Trial Act’s end-of-justice provision “counteract[s] substantive

24 openendedness with procedural strictness,” “demand[ing] on-the-record findings” in a particular case.

25 Zedner v. United States, 547 U.S. 489, 509 (2006). “[W]ithout on-the-record findings, there can be no

26 exclusion under” § 3161(h)(7)(A). Id. at 507. Moreover, any such failure cannot be harmless. Id. at
27 509; see also United States v. Ramirez-Cortez, 213 F.3d 1149, 1153 (9th Cir. 2000) (explaining that a

28 judge ordering an ends-of-justice continuance must set forth explicit findings on the record “either orally

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 1 or in writing”).

 2          Based on the plain text of the Speedy Trial Act—which Zedner emphasizes as both mandatory

 3 and inexcusable—General Orders 611, 612, and 617 require specific supplementation. Ends-of-justice

 4 continuances are excludable only if “the judge granted such continuance on the basis of his findings that

 5 the ends of justice served by taking such action outweigh the best interest of the public and the

 6 defendant in a speedy trial.” 18 U.S.C. § 3161(h)(7)(A). Moreover, no such period is excludable unless

 7 “the court sets forth, in the record of the case, either orally or in writing, its reason or finding that the

 8 ends of justice served by the granting of such continuance outweigh the best interests of the public and

 9 the defendant in a speedy trial.” Id.
10          The General Orders exclude delay in the “ends of justice.” 18 U.S.C. § 3161(h)(7) (Local Code

11 T4). Although the Speedy Trial Act does not directly address continuances stemming from pandemics,

12 natural disasters, or other emergencies, this Court has discretion to order a continuance in such

13 circumstances. For example, the Ninth Circuit affirmed a two-week ends-of-justice continuance

14 following Mt. St. Helens’ eruption. Furlow v. United States, 644 F.2d 764 (9th Cir. 1981). The court

15 recognized that the eruption made it impossible for the trial to proceed. Id. at 767-68; see also United

16 States v. Correa, 182 F. Supp. 326, 329 (S.D.N.Y. 2001) (citing Furlow to exclude time following the

17 September 11, 2001 terrorist attacks and the resultant public emergency). The coronavirus is posing a

18 similar, albeit more enduring, barrier to the prompt proceedings mandated by the statutory rules.

19          In light of the societal context created by the foregoing, this Court should consider the following

20 case-specific facts in finding excludable delay appropriate in this particular case under the ends-of-
21 justice exception, § 3161(h)(7) (Local Code T4). 1 If continued, this Court should designate a new date

22 for the status conference. United States v. Lewis, 611 F.3d 1172, 1176 (9th Cir. 2010) (noting any

23 pretrial continuance must be “specifically limited in time”).

24                                                 STIPULATION

25          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

26 through defendant’s counsel of record, hereby stipulate as follows:
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            1
            The parties note that General Order 612 acknowledges that a district judge may make
28 “additional findings to support the exclusion” at the judge’s discretion. General Order 612, ¶ 5 (E.D.
   Cal. March 18, 2020).
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 1         1.      By previous order, this matter was set for status on November 23, 2020.

 2         2.      By this stipulation, defendant now moves to continue the status conference until January

 3 27, 2021, and to exclude time between November 23, 2020, and January 27, 2021, under Local Code T4.

 4         3.      The parties agree and stipulate, and request that the Court find the following:

 5                 a)      defense require additional time to consult with their clients, to review the current

 6         charges, to conduct investigation and research related to the charges, to review and copy discovery

 7         for this matter, to discuss potential resolutions with his/her client, to prepare pretrial motions, and to

 8         otherwise prepare for trial. Defense investigation has been slowed by the inability to review

 9         discovery with their clients and communication has been hampered given the conditions at the jail.

10         The case involves several seizures, over 11,000 pages of discovery, and discovery in the form of

11         several gigabytes. The proposed status conference date represents the earliest date that all counsel are

12         available thereafter, taking into account counsels’ schedules, defense counsels’ commitments to other

13         clients, and the need for preparation in the case and further investigation. In addition, the public

14         health concerns cited by General Order 611, 612, 617, and 618 and the judicial declaration of

15         emergency and presented by the evolving COVID-19 pandemic, an ends-of-justice delay is

16         particularly apt in this case because counsel or other relevant individuals have been encouraged to

17         telework and minimize personal contact to the greatest extent possible.

18                 b)      Counsel for defendant believes that failure to grant the above-requested

19         continuance would deny him/her the reasonable time necessary for effective preparation, taking

20         into account the exercise of due diligence.

21                 c)      The government does not object to the continuance.

22                 d)      Based on the above-stated findings, the ends of justice served by continuing the

23         case as requested outweigh the interest of the public and the defendant in a trial within the

24         original date prescribed by the Speedy Trial Act.

25                 e)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

26         et seq., within which trial must commence, the time period of November 23, 2020 to January 27,

27         2021, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

28         T4] because it results from a continuance granted by the Court at defendant’s request on the basis

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 1          of the Court’s finding that the ends of justice served by taking such action outweigh the best

 2          interest of the public and the defendant in a speedy trial.

 3          4.     Nothing in this stipulation and order shall preclude a finding that other provisions of the

 4 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 5 must commence.

 6          IT IS SO STIPULATED.

 7

 8
     Dated: November 12, 2020                                 MCGREGOR W. SCOTT
 9                                                            United States Attorney
10
                                                              /s/ JUSTIN J. GILIO
11                                                            JUSTIN J. GILIO
                                                              Assistant United States Attorney
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13
     Dated: November 12, 2020                                 /s/ Charles Lee
14                                                            Charles Lee
15                                                            Counsel for Defendant
                                                              ASHLEY HILL
16
     Dated: November 12, 2020                                 /s/ Peter Jones
17                                                            Peter Jones
                                                              Counsel for Defendant
18                                                            GEORGIA DEAN
19

20                                                    ORDER
21          IT IS SO ORDERED that the status conference is continued from November 23, 2020, to January
22 27, 2021, at 1:00 p.m. before Magistrate Judge Barbara A. McAuliffe. Time is excluded pursuant to

23 18 U.S.C.§ 3161(h)(7)(A), B(iv).

24 IT IS SO ORDERED.

25
        Dated:    November 16, 2020                            /s/ Barbara A. McAuliffe             _
26                                                      UNITED STATES MAGISTRATE JUDGE
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